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                                #:45954


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                             UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11
12    JENNY LISETTE FLORES, et al.,          No. CV 85-4544-DMG-AGRx
13          Plaintiffs,                      STIPULATION TO HOLD IN ABEYANCE
14                                           BRIEFING AND ADJUDICATION REGARDING
      v.                                     PLAINTIFFS’ MOTION, ECF NO. 1189
15
      MERRICK GARLAND, Attorney General of
16    the United States, et al.,
17
18          Defendants.
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                                #:45955


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                                                                 STIPULATION TO HOLD IN ABEYANCE
                                                                         CV 85-4544-DMG-AGRX
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  1         On October 22, 2021, Plaintiffs filed a Motion for Award of Attorneys’ Fees
  2   in the above-captioned case [Doc. # 1189]. As noted in the motion, Plaintiffs also
  3   filed their fee application in the Ninth Circuit. Id. at 1 n.1. The parties are seeking
  4   to mediate these issues and have filed a request with the Ninth Circuit asking that
  5   the motion be referred to the Ninth Circuit Mediation Office. The Parties agree
  6   that, should mediation discussions cease to be productive, the Parties will meet and
  7   confer within three days. If that occurs, Plaintiffs will dismiss their Ninth Circuit
  8   fee application and the parties will promptly submit to this Court a Joint Status
  9   Report with a proposed briefing schedule and hearing date. The Parties hereby
10    stipulate and respectfully request that the Court vacate the current briefing
11    schedule and hearing date [Doc. # 1189] and stay further proceedings on this
12    motion pending a further status report from the Parties.
13
14    Dated: November 8, 2021          CENTER FOR HUMAN RIGHTS AND
15                                     CONSTITUTIONAL LAW
                                       Carlos R. Holguín
16
17                                     NATIONAL CENTER FOR YOUTH LAW
                                       Neha Desai
18                                     Mishan Wroe
19                                     Melissa Adamson
                                       Diane de Gramont
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21                                     CHILDREN’S RIGHTS
                                       Leecia Welch
22
23                                     /s/ Mishan Wroe
24                                     Mishan Wroe
                                       One of the Attorneys for Plaintiffs
25
26    Dated: November 8, 2021          BRIAN M. BOYNTON
                                       Acting Assistant Attorney General
27
28
                                                -1-                          STIPULATION TO HOLD IN ABEYANCE
                                                                                     CV 85-4544-DMG-AGRX
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                                #:45957


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11                                /s/ Sarah Fabian
                                  Sarah B. Fabian
12                                One of the Attorneys for Defendants
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